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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF KANSAS



UNITED STATES OF AMERICA,                 )
                                          )
                     Plaintiff,           )
                                          )
v.                                        )      Case No. 09-10097–02-JTM
                                          )
MICHAEL SCOTT BERG,                       )
                                          )
                     Defendant.           )
                                          )

                    MEMORANDUM AND ORDER ON
          MOTION FOR RECONSIDERATION OF DETENTION ORDER
        On August 26, 2009, a detention hearing was conducted in accordance with the

Bail Reform Act, 18 U.S.C. §3142(f). The Government appeared by and through Matt

Treaster, Assistant United States Attorney. The defendant appeared in person and through

appointed counsel, Casey Cotton.

The Government requested a detention hearing because this case involves an

offense for which a maximum term of imprisonment of ten years or more is prescribed in

21 U.S.C. § 801 et seq., and because this case involves the unlawful possession of a

firearm in furtherance of a drug trafficking crime pursuant to 18 U.S.C. § 924(c). After

hearing arguments, the court granted the Government's motion for detention. (Doc. 22).

        On October 5, 2009, Defendant filed a motion to reconsider the detention order.

(Doc. 45). The Court has been advised that the U.S. Probation Office and the U.S.

Attorneys’ Office do not oppose release subject to certain significant conditions of

release. The Court finds that the conditions set out in the separate “Order Setting

Conditions of Release” in this case will reasonably assure the appearance of the
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Defendant and the safety of the community, and Defendant should be released on those

conditions.

       The release of Defendant shall be STAYED until October 12, 2009, or as soon as a

bed is available at an inpatient treatment facility which is approved by the Pretrial

Services Officer.

       In addition, Defendant shall not be released from the inpatient treatment facility

until any subsequent release plan shall be reviewed and approved by the Pretrial Services

Office. If the parties are in disagreement about any subsequent release plan, the Court

shall be notified so that a hearing can be set to consider such plan.

       Pursuant to 18 U.S.C. § 3142(h), Defendant has been advised that:

       A.     if he commits a crime under federal, state or local law while on release in

              this case, he may face additional incarceration in a federal penitentiary for

              up to ten (10) years if the crime is a felony, and up to one (1) year if the

              crime is a misdemeanor;

       B.     if he violates any of the conditions of release, the Government may seek an

              order setting aside this Order of Release and seek issuance of a warrant for

              Defendant’s arrest and seek to have him held in custody pending trial in this

              case;

       C.     if he fails to appear in court every time his appearance is required, the

              Government may seek issuance of a warrant for his arrest, seek to have him

              held in custody pending trial in this case, seek an order forfeiting the

              amount of the bond in this case and seek to recover the amount of the bond



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              from any assets of Defendant which the Government may reach as a matter

              of law.

       IT IS THEREFORE ORDERED that the defendant be released from custody

pending trial subject to the conditions stated in the separate document entitled “Order

Setting Conditions of Release.”

       IT IS SO ORDERED.

       Dated at Wichita, Kansas, this 6th day of October, 2009.



                                     s/ DONALD W. BOSTWICK
                                    DONALD W. BOSTWICK
                                    United States Magistrate Judge




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